                  Case 3:20-cr-02866-RBM Document 18 Filed 09/25/20 PageID.29 Page 1 of 1
     AO 245B (Rev. 02/08/2019) Judgment in a Criminal Petty Case (Modified)                                                                    Page 1 of 1



                                         UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA

                          United States of America                                     JUDGMENT IN A CRIMINAL CASE
                                          V.                                           (For Offenses Committed On or After November 1, 1987)



                          Martin Noe Mata Castillo                                     Case Number: 3:20-cr-2866

                                                                                       Salil Dudani
                                                                                       Defendant's Attorney


     REGISTRATION NO. 97108298
                                                                                                                       FILED
     THE DEFENDANT:
      IZI pleaded guilty to count(s) 1 of Superseding Information
                                                                                                              I I         SEP 2 5 2020

      D was found guilty to count(s)
             after a plea of not guilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

     Title & Section                    Nature of Offense                                                               Count Number(s)
     8:1325                             IMPROPER ENTRY BY AN ALIEN (Misdemeanor)                                         1

      D The defendant has been found not guilty on count(s)
                                                                               -------------------
      IZI Count( s) _1 of information                                             dismissed on the motion of the United States.

                                                 IMPRISONMENT
I.          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
·    imprisoned for a term of:

                                    •    TIME SERVED                             IZI               @                           deys

      IZI    Assessment: $10 WAIVED IZI Fine: WAIVED
       IZI   Court recommends USMS, ICE or DHS or other arresting agency return all property and all documents in
      the    defendant's possession at the time of arrest upon their deportation or removal.
       D     Court recommends defendant be deported/removed with relative, _ _ _ _ _ _ _ _ _ charged in case


          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
     of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
     imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
     United States Attorney of any material change in the defendant's economic circumstances.

                                                                              Friday, September 25, 2020
                                                                              Date of Imposition of Sentence


                       ~ jjl-/7~
     Received
                   DUSM                                                       ~~
                                                                              UNITED STATES MAGISTRATE JUDGE



     Clerk's Office Copy                                                                                                            3:20-cr-2866
